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Judi Lawrence

From:                                     Orlando Acosta <orlandoacosta979@gmail.com>
Sent:                                     Tuesday, June 26, 2018 3·17 PM
To:                                       centerc1tynotary1 OO@gmail.com
Subject:                                  This is a letter referencing to the defense argument that I failed to state a clam. I stated
                                          a claim Acosta vs Democratic City committee case number 217-CV01462 Date June 26
                                          2018



This is a letter to the defense and the courts from pro se litigant mr Orlando Antonio I am writing this correspondence
because I did State a claim back on April 17th 2018 docket number 113 when I filed a Affidavit of Truth in the Affidavit of
Truth I stated what my damage were and how I was affected emotionally and how it had affected my family and my
marriage and also my income. Thank you sincerely yours mr. Orlando Antonio




                                                                                            FILED
                                                                                            JUN 2 6 2018
                                                                                         KATE BARKMAN, Clerk
                                                                                       By           Oep. Clerk

                 COMMONWEALTH OF PENNSYLVANIA
                       NOTARIAL SEAL
                       DIANE TWYMAN
                          Notary Public
            CITY OF PHILADEI PHIA, PHILADELPHIA CNTY
                My Commission Expires Sep 30, 2019




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